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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Sportbrain Holdings LLC
                                     Plaintiff,
v.                                                     Case No.: 1:16−cv−02553
                                                       Honorable Virginia M. Kendall
Timex Group USA, Inc., et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 20, 2018:


       MINUTE entry before the Honorable Virginia M. Kendall. Case is dismissed
without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) and Notice
of Dismissal [40]. Civil case terminated. Mailed notice(lk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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